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IN THE UNITED STATES DISTRICT COURT
FGR THE NORTHERN DISTRICT GF OKLAHOMA

ELBERT KIRBY, JR. and §
CALEB MEADOWS, §
§
Plaintiffs, §
§

vs. § No. l4-CV-388-GKF-PJC
§
DAVID M. O’DENS, SETTLEPOU §
and OCWEN LOAN SERVICING, §
LLC, §
§
Defendants. §

DEFENDANTS’ MOTION FOR IMPOSITION
GF SANCTIONS AND BRIEF IN SUPPORT

Defendants, David M. O’Dens (“O’Dens”), SettlePou (“SettlePou”) and
Ocvven Loan Servicing, LLC (“Ocvven”) (collectively “Defendants”), pursuant to
Rule 37 of the Federal Rules of Civil Procedure, file this Motion for lmposition of
Sanctions addressed to the failures of Plaintiffs, Elbert Kirby, Jr. and Caleb
Meadows (collectively, “Plaintiffs”), to comply With the Court’s Orders in the
above~entitled and numbered case.

Summary of the Motion

Despite being ordered several times by the Court to comply With
Defendants’ discovery requests, Plaintiffs have once again failed and refused to
comply With the Court’S orders and continue to obstruct legitimate discovery

efforts by Defendants in this case. Their continuing failures are Without foundation

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or merit and seriously undermine Defendants’ efforts to prepare this case for trial
but, more importantly, are an affront to the Court and Defendants.
Arguments and Authorities

“Plaintiffs have again failed to comply with the Federal Rules or the Court’s
Orders.” Order at pg. 3 [Docket No. 156]. Three separate orders of the Court are
the subject for this motion, Because it is clear that Plaintiffs do not intend to
comply with the Court’s orders, rather than seek yet another motion to compel,
Defendants request that the Court impose sanctions against Plaintiffs and now
dismiss this case.

A. Defendants’ fourth motion to compel.

On May 29, 2015, the Court granted Defendants’ fourth motion to compel
and ordered Plaintiffs’ “by June 7, 2015,” to “fully comply With the Court’s
order and the Rules of Civil Procedure by providing proper, verified answers
to interrogatories and full responses to the Requests for Production.” Order at
pg. 9-10 (emphasis in original) [Docl<et No. 130]. As of this date, Defendants
have not been served with any amended (and proper) answers to the first set
interrogatories or responses to requests for production

Plaintiffs apparently contend that because they “appealed” Magistrate Judge
Cleary’s order they were are not required to comply with his order. See Exhz'bit

No. 8 (discussed infra). Plaintiffs are simply wrong. A timely objection or

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“appeal” does not operate to stay a Magistrate Judge’s ruling until the District
Court acts on the objection White v. BurtEnterprises, 200 F.R.D. 64l, 642-43 (D.
COlo. ZOOO) (citing L.D. Wz'llz'ams v. Texaco, Inc., 165 B.R. 662, 673 (D.N.M.
1994) and Litton lndustries, [nc. v. Lehrnan Brothers Kuhn Loeb, [nc., 124 F.R.D.
75, 78-79 (S.D.N.Y. 1989)); see also 12 CHARLES ALAN WRIGHT & ARTHUR R.
MILLER, FEDERAL PRACTICE AND PROCEDURE § 3069 (Z“d ed. 2015). Moreover,
this Court has overruled Plaintiffs’ “appeal” or objection. See generally Order
[Docket No. l55]. Plaintiffs have not complied with the Court’s order and
sanctions are warranted FED R. CIV. P_. 37(b)(2)(A).

B. Defendants’ fifth motion to compel.

Gn May l4, 20l5, the Court granted Defendants’ fifth motion to compel.
Pursuant to the Court’s May 14th order, Plaintiffs were required to “fully answer
the interrogatories and verify them as required by Rule 33(b)(3) under oath and
return their answers to Defendants by May 22, 2015.” Opinz'on and Ora’er at pg. 8
(emphasis in original) [Docket No. 118].

Once again, Plaintiffs failed to comply with the Court’s order. Plaintiffs’
discovery responses are attached hereto as Exhibit Nos. l through 6. Plaintiffs’
failures are the same as the Court has seen numerous times and for which the Court
has specifically and repeatedly advised Plaintiffs of the insufficiency of their

aUSW€I'S .

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1. Jointly answered.

Plaintiffs, as they have done so repeatedly, insist on jointly answering
interrogatories propounded to them separately. See Exln`bit Nos. 1-6; See also
Opz'nion ana’ Ora’er at pg. 4 [Docket No. 130] (noting Plaintiffs’ failure to
“distinguish between themselves; nor did they distinguish among the Defendants”).
Even then, accepting separately signed discovery responses as Plaintiffs’ separate
answers, each Plaintiff s answer is identical to the others, which provide no
substantive response to a separately propounded interrogatory See Opz'nion and
Ora’er at pg. 4 [Docket No. 130] (“the distinctions between the two Plaintiffs are
also critical”).

2. Not fully answered.

Plaintiffs continue to assert global answers, which by their very nature are
vague, employing the same stock answer for each separately addressed
interrogatory F or example, in response to interrogatories specifically addressed to
the alleged conduct of O’Dens, Plaintiffs vaguely respond that “defendants chen
Loan Servicing, LLC, David M. O’Dens and SettlePou” have engaged in certain
conduct See, e.g., Exhil)z't No. l at pg. Z. The Court has already recognized the
infirmities associated with such answers Opz`nz'on ana’ Oraler at pg. 3-4 [Docket
No. 130]. ln short, the answers do not address the “distinctions among the

Defendants [which] are critical when discovery requests seek information as to a

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specific Defendant’s conduct.” Opinion and Order at pg. 4 [Docket No. 130].
Plaintiffs persist in their evasive discovery responses See Opinz'on and Order at
pg. 4 [Docket No. 130] (“Furthermore, the Plaintiffs’ responses were vague and
failed to provide any detailed information”); FED. R. CIV. P. 37(a)(4) (“an evasive
or incomplete disclosure, answer, or response must be treated as a failure to
disclose, answer or respond”).

ln addition, Plaintiffs’ interrogatory answers as they are prove too much.
For example, in response to an interrogatory addressed to O’Dens’ conduct, each
Plaintiff asserts that “[o]n or about May l, 2010 to approximately July ll, 2014,
the defendants chen Loan Servicing, LLC, David l\/I. O’Dens and SettlePou have
communicated approximately fifty (50) separate reports of false information to
each EXperian, Equifax, and Transunion.” Exhil)it No. l at pg. 2. Of course, the
first part of the interrogatory asks for “a description of the action taken and the
date(s) such action was undertaken” by O’Dens, not SettlePou and/or chen.l
Plaintiffs wholly failed to fully answer the interrogatory At a minimum,
Defendants are entitled to know what information Plaintiffs contend was

transmitted by each Defendant, when it was transmitted and how it was false.2 To

 

l So are Plaintiffs stating that the defendants jointly made fifty reports, made separate
reports which total fifty or something else?

2 ln their answers, Plaintiffs allude to their complaint by stating: “Representing false
amount to the respective CRAS.” Exhil)it No. l at pg. 2. Thus, it cannot be disputed that there is
more to the answer than provided by Plaintiffs.

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that end, each Defendant submitted a specific interrogatory to each Plaintiff which,

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despite Plaintiffs response,” remains unanswered

Next part of the interrogatory asks “whether such report(s) [were] written or
oral and the date each such request was made.” Plaintiffs failed to answer this part
of the interrogatory and, if Plaintiffs are to be believed, there are approximately
fifty reports that must be described and dated.3 Defendants are entitled to this most
basic information concerning Plaintiffs’ allegations and claims in this case.

Finally, throughout the course of this litigation, Defendants have diligently
and timely sought discovery from Plaintiffs. Yet at almost every turn they have
been thwarted by “Plaintiffs’ inattention to detail and/or inartful or evasive
discovery responses.” Opinz'on and Order at pg. 4 [Docket No. l30]. Defendants
first propounded discovery to Plaintiffs three days (but only one business day) after
entry of the scheduling order in this case. Now, more than six months have passed,

the discovery deadline expired some six weeks ago, Defendants have been forced

to file five separate motions to compel,4 four motions for protective order5 and two

 

3 Plaintiffs’ answers also stretch credulity As the Court has observed, O’Dens and
SettlePou “first became involved with Plaintiffs on March 24, 2014, when they entered
appearances in the Tulsa County foreclosure action.” Opz'nion and Order at pg. 3 [Docket
No. 130]. How and why is it that either Defendant could or would have made reports to credit
reporting agencies before that time‘?

4 All five motions to compel were granted by the Court. Mz'nute Sheet [Docket No. 67]
(granting Defendants’ first and second motions to compel; finding Defendants’ third motion to
compel Plaintiffs’ depositions moot by agreement); Order [Docket No. ll9] (ultimately
compelling Plaintiffs’ depositions under Court supervision); Opz'nion and Order [Docket No.

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motions for attorneys’ fees,6 and, yet, Plaintiffs have still not complied with their
obligations under the Federal Rules of Civil Procedure or the Court’s discovery
orders.

3. Not properly verified.

Plaintiffs’ purported verifications fail on several levels. Once again,
Plaintiffs attempt to use an unsworn declaration to verify their answers. First,
Plaintiffs fail to attest to their answer under oath. Specifically, Plaintiffs fail to
attest that their answers are provided “under penalty of perjury.” 28 U.S.C.
§ l746; see also Opinion and Order at pg. 5 [Docket No. l30].

Second, Plaintiffs avoid using the required phrase “under penalty of perjury”
by simply referring to “28 USC l746(l).” Whether clever or clumsy, the reference
is critical Section 1746(1) addresses declarations “executed without the United
States.” 28 U.S.C. § l746(l) (emphasis added). According to the signature block

accompanying the answers, each discovery response was signed at “1125 East Sth

 

l30] (granting Defendants’ fourth motion to compel); Opinion and Order [Docket No. llS]
(granting Defendants’ fifth motion to compel).

5 The Court granted all four motions for protective order. Order [Docket No. 86]

(granting emergency motion to quash depositions]; Order [Docket No. 92] (granting motion to
limit the scope of 30(b)(6) notice); Order [Docket No. llZ] (granting motion to deny Plaintiffs’
second request for production); Order [Docket No. 139] (granting motion to quash notices of
deposition).

6 The Court granted one of the motions for attorneys’ fees. Upinion and Order [Docket
No. 129] (granting motion for attorneys’ fees associated with emergency motion to quash
depositions). One remains pending. Defendants’ Second Motion for Attorneys’ Fees and Brief
in Sapport [Docket No. 124]; see Opinz'on and Order at pg. 7 & 8 [Docket No. llS].

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Street, Tulsa Oklahoma.” Thus, a reference to § l746(l) accomplishes nothing
since Plaintiffs were not out of the country at the time they signed the discovery
response. See 28 U.S.C. § 1746(2) (proper form of declaration “within the United
States”).

Finally, and more importantly, assuming Plaintiffs’ shenanigans with their
reference to § l746(l) can be overlooked, qualifying their declarations “to the best
of [their] acknowledge” effectively avoids any verification of their answers.
Opinion and Order at pg. 5 [Docket No. l30] (citing DeseretManagement Corp. v.
U.S., 75 Fed. Cl. 571, 573 (2007)).

4. Not returned by May 22, 2015.

Lastly, Plaintiffs were ordered to “return their answers” by May 22, 2015,7
Plaintiffs failed to do so. The discovery responses were not placed in the mail until
l\/Iay 23, 2015, as reflected by the “stamp” accompanying Plaintiffs’ mailing. A
true and correct copy of the envelope is attached as Exhibit No. 7.

While Plaintiffs are likely to argue that delay of one day might be considered
de minimis, given their continuing misconduct in this litigation such an argument
would miss the point. Plaintiffs separately signed a certificate of service that

represented the discovery responses were “sent via electronic mail and fist [sic]

 

7 The parties can debate what the Court meant by using the term “return” as opposed to
“serve” in its order, the latter having a specific meaning under the Federal Rules of Civil
Procedure. Nevertheless, Defendants will assume for purposes of this motion the Court’s order
contemplated service in accordance with the Federal Rules of Civil Procedure.

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mail . . . on [this 22nd day of May, 2015].” As reflected in the communications
between the undersigned counsel and Plaintiffs, it cannot be disputed that Plaintiffs
d_id nth serve the discovery responses via e-mail and, more importantly, they had
full knowledge that the date of service in their certificate was incorrect A true and
correct copy of the e-mail correspondence is attached as Exhibit No. 8 (regarding
the undersigned counsel’s attempts to confer regarding this motion); see Chesson
v. Jaqaez, 986 F.2d 363, 365 (lOth Cir.l993) (holding date on certificate of service
accepted as date of service absent evidence to the contrary). Knowingly signing a
false certificate of service is no small matter.

C. Defendants’ first motion for attorneys’ fees.

On May 29, 2015, the Court granted Defendants’ first motion for attorneys’
fees in this case. See generally Opinion and Order [Docket No. 129]. Magistrate
Judge Cleary ordered Plaintiffs to pay Defendants “the total amount of
$4,401.00 . , . by July l, 2015.” Opinion and Order at pg. 6 [Docket No. 129].
Plaintiffs have not paid the sanction as ordered by the Court.8 Dismissal of this
action is within the Court’s discretion FED R. CIV. P. 37(b)(2)(A)(v). This
includes Plaintiffs’ failure to pay a monetary sanction. Richardson v. Safeway,
[nc., 109 Fed.Appx. 275, (l0th Cir. 2004), cert. denied, 544 U.S. 933, 125 S. Ct.

l832 (2005) (district court did not abuse its discretion when it dismissed former

 

8 Plaintiffs’ “appeal” of Magistrate Judge Cleary’s order was overruled by the Court.
Order at pg. l-2, 3 [Docket No. 155].

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employee's Title Vll action with prejudice, based on former employee's failure to
satisfy monetary sanction that previously was imposed as a result of
her discovery violations).

D. Dismissal of this case is now in order.

lt is unnecessary to recount the long and tortured history of discovery abuses
by Plaintiffs in this action; the Court is all too familiar with them. Suffice it to say,
however, the Court has spent an inordinate amount of time, repeatedly explaining
to Plaintiffs their obligations in responding Defendants’ discovery requests in this
case. The Court’s orders have been plain and clearly communicated to Plaintiffs.

Plaintiffs have been warned that their conduct of discovery in this case will
subject them to dismissal of this case. Order at pg. 3 [Docket No. 88];9 cf. Order
at pg. 2-3 [Docket No. ll9]; Opinion and Order at pg. lO [Docket No. l30]. And
yet, Plaintiffs continue in their failure to cooperate in discovery and to obey the
Court’s orders in this case. lt could not be clearer that Plaintiffs have ignored and
will continue to ignore or obey the Court’s orders in this case. Plaintiffs’ failure to
comply with the Court’s order is not merely that of a pro se party
misunderstanding their obligations under the Federal Rules of Civil Procedure,

rather it is an affront to the Court and Defendants. See generally Plaintiffv’

 

9 During the hearing conducted before the Court on May 8, 20l5, Magistrate Judge Clary
repeatedly explained to Plaintiffs that their continued conduct in this case will result in its
dismissal. See Order at pg. l [Docket No. 119] (describing “Plaintiffs’ frivolous misconduct”).

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Objection, Supporting Ajjfidavit, and Judicial Notice [Docket No. 73] and
Plaintiffs’ Aj§‘idavit of Occurrence in Liea of May 8, 20]5, Hearing [Docket
No. ll6]. When a party fails to comply with a court’s discovery order, they are
subject to sanctions, including dismissal of their case. FED. R. CIV. P.
37(b)(2)(A)(v); see generally Order [Docket No. ll9].

No doubt Plaintiffs are intent on arguing to the jury in this case concerning
Defendants’ “atrocities,” but are unwilling to provide a proper (or even coherent)
discovery response when called upon to support their allegations Defendants have
been prejudiced in their trial preparations by Plaintiffs’ failure to cooperate in
discovery See Ecclesiastes 9.'10-]]-]2, [nc. v. LMC Holding Co., 497 F.3d ll35,
1145-46 (10th Cir. 2007); Coons v. Allstate Indeznnity Co., 2013 WL 2370633
(N.D. Okla., l\/lay 30, 20l3); see also Gripe v. City ofEnid, Okla., 312 F.3d ll84,
1188 (10th Cir. 2002) (concluding that district court rested its dismissal order on
“appropriate considerations” under Ehrenhaas test when it found “on at least two
occasions that plaintiffs failure to follow court orders and rules had
inconvenienced and prejudiced defendants and the court”). Defendants request
that the Court impose sanctions upon Plaintiffs and dismiss this case with

prejudice.

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Relief Requested

Defendants respectfully request that the Court impose sanctions upon

Plaintiffs and dismiss this case with prejudice, and grant all other relief that

Defendants are entitled

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Respectfully submitted,

/s/ David M O ’Dens
David l\/l. O’Dens, OBA # ll455
odens@Settlepoa.com

SettlePou

3333 Lee Parkway, Eighth Floor
Dallas, Texas 75219

(214) 520-3300

(214) 526-4145 (Facsimile)

A. Grant Schwabe, OBA #20543
Kivell, Rayment and Francis, P.C.
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7666 East 61St Street

Tulsa, leahoma 74133
Telephone: (918) 254-0626
Facsimile: (918) 254-7048

Email: gschwable@kivell.com

and

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Neal Tomlins, OBA No. 10499
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Email: Steve@tplawtulsa.com
TOMLINS & PETERS, PLLC
Southern Hills Tower Suite 305
2431 East 61st Street

Tulsa, Oklahoma 74136

Phone: (918) 949-4411

ATTORNEYS FOR DEFENDANTS
Certificate of Conference

Pursuant to Local Court Rule 37.1, the undersigned counsel conferred with
Plaintiffs via electronic mail a copy of which is attached as Exhibit No. 8.
Plaintiffs are opposed to the granting of this motion.

/S/ David M O ’Dens
David M. O’Dens

Certificate of Service

This certifies that on July 6, 2015, the undersigned electronically filed the
forgoing document to the Clerk of the Court using the ECF System for filing.
Based on the records currently on file, it does not appear that the Clerk of the Court
can transmit a Notice of Electronic Filing to Plaintiffs and, therefore, the foregoing
document was served via certified mail, return receipt requested on:

Elbert Kirby, Jr., pro Se
Caleb Meadows, pro se
1125 East 8th Street

Tulsa, Oklahoma 74120

/S/ David M O ’Dens
David M. G’Dens

DMS-#702445-v1 (14*0453)

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Exhibit No. 1

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IN THE UNITED STATES DlS'l`RlCT COURT
F()R T_l:ll?l NO'RTHE’RN DlSTRlCT OF OKLAHOl.\/I_A

l`:`il,bert Ki_rby1 Jr., and Caleb Meadows,
Plaintiffs
Casc No. ll4-(‘\/~388»(}1<1?`~1~’.1€

...V..

David I\/l\ O’Dens, Set'tle and Pou. PC,
and C)cwen l..toan Ser\/icingi l,_il.,C`

v~_/\/\./\_/\_/`_/\./"_./\_/

Defendants

PLAINTIFFS’ RESPONSE TO l:)illf"f?lND/XN”I"'S SE- (".T OND SE"l`
OF llNr.l`ii`,RR(`)G A.'i`()RiF,S
PR()P()UNDED T() Ei__,BER'l` KIRBY., JR

To: Defendant:
_;QAVE`D 'M. O’D.HENS
3333 free Parkway
sTE 800 '
Dallas, "l`X 75219

Plaintiffs `Elbeitl_<;irby, Jr., and Caleb `Meadows, pursuant to Rules 26 and 33
of the Federal Rules of Civil Procedure, hereby respond to the following

interrogatories propounded to the Plaintiffs _l`§lbert Kirby, Jr., and Caleb l\/[eaclo’vv's.

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Interrogatories
lnterrogatory No. 5: With respect to the allegations in Paragraph 9 of the

Complaint that ()'Dens has "[communicat][ed] credit information which is false," state,
specifically and in detail:

(A) each action which you contend O‘Dens has taken as credit reporting_,
including a description of the action taken and the date(s) such action was undertaken;
and

(B) each report you contend O'Dens made as credit reporting, including

whether such report(s) was written or oral and the date each such request was made

ANSWER No 5: On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David lV_[. O’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAs the disputed status of the

alleged debt in all instances and reports

lnteiroga.toiy No. 6: With respect to the allegations in Paragraph 13 of the
Coniplaint that O'Dens "violated the Pair Credit Reporting Act," state specifically and in

detail:

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(A) each action which you contend O‘Dens has taken in violation of the Fair
Credit Reporting Act, including a description ofthe action taken and the
(_B) each “dispute[] that the Plaintiffs made unto the defendants" you contend
O'Dens made, including a description of the action taken and the date(s) such action was
undertal<en; and
(C) each action you contend O’Dens undertook that was "in bad faith with unclean
hands," including a description of the action taken and the date(s) such action was
undertal<en.
ANSWER l\lo 6: On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David M. O’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAs the disputed status of the

alleged debt in all instances and reports

interrogatory l\lo. 71 With respect to any damages you are seeking against
O'Dens in this action:
(A) state, specifically and in det.ail_, the nature of your claimed damages and the

precise amount of your claimed damages;

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(B`,) state specifically and in detail, the precise method(s) by which you calculated
your claimed damages_;
(C) state_, specifically and in detail, each fact support or otherwise relating to
each item of your claimed damages; and
(D) identify each document supporting or otherwise relating to each item ot`your
claimed damages
ANSWER No 7. See Exhibit l
850,000 - FCRA - 50 counts/occurrences » $1,000 per statutory damage - false report
850,000 - FCRA - 50 counts/occurrences - Sl,000 per statutory damage - incorrect amount
$50,000 - FCRA ~ 50 counts/occurrences ~ 81,000 per statutory damage - failed to report as
dispute
8500,000 - FCRA »- actual damages - approximate Worth of Plaintiffs’ property
TOTAL FCRA ~ $650,000
$600,000 = TCPA - 400 counts/occurrences - $],500 per statutory damages
TOTAL FCRA & 'I`CPA ~ $1,250,000

PUNITIVE DAl\/IAGES ~ amount to be proven by court and/or at trial

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Mal;a;f_i_<la
I, Aft"lant, Elbert Kirby, Jr., do declare and attest the forgoing information and answers
as stated are true and correct to the best of my knowledge in accordance With 28 USC

1746(1).

Respectfully Submitted this 22nd day of May, ZOl 5,

 

By: Elbert Kirby, Jr.

Elbert Kirby, Jr. and Caleb l\/Ieadows
l125 East Stli Street

Tulsa, Oklahoma

918.906.1204

Certiticate of Service
l certify that the above document has been sent via electronic and fist class mail, postage prepaid
and affixed thereto, unto the following defendants’ attorney of record on the last date stated above

 

Caleb l\/ieadows

ll25 East Sth Street

Tnlsa, Oklahoma
chen Loan Servicing, LLC 9l 3.906-l204
3333 Lee Parl<way
S_TE 800
Dallas. 'l."X 75219
odens@chen.com

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P|ease refer to this attached “Exhibit ‘l” Ca|l Log
totaling 8 pages for the Plaintiffs’ responses to
detendants’ second set ot interrogatories

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Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 25 of 65

 
 

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January 41h,201'i al 12;37 Pm

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Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 26 of 65

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March Blh_ 2012 al 4216 Pm
Februarl/ 1801 2012 at 3106 Pm
February 1Slh. 2012 at 7:52 Dm
February Srd‘ 2012 at 12:‘19 Dm
January 7th, 2012 al 2116 Drn
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December ZSlh. 2011 at 4:03 pm
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Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 27 of 65

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TOLL FREE CALL: ocwen financial orlando F|orlda
(800) 745-2936
TOLL FREE CALL: cowen linancial orlando F|orlda
(800) 746~2936
TOLL FREE CALL: ocwen financial orlando Florida
(300) 746*2936

TOLL FREE CALL: ocwen financial orlando Florida
(800) 746~2936
TOLL FREE CALL : cowen financial orlando Florida
(800) 746-2936

TOLL FREE CALL : ocwen nnancial orlando Florida
(800) 746'2936

TOLL FREE CALL : cowen financial orlando Florida
(800) 746~2936

TOLL FREE CALL : cowen financial orlando Florida
(800) 746-2936

TCLL FREE CALL : ocwen financial orlando Florlda
(300) 74&2936
TOLL FREE CALL'. cowen financial orlando Florida
(800) 745-2936
TOLL FREE CALL: cowen financial orlando Florida
(300) 745-2936
TOLL FREE CALL : cowen financial orlando F|orida
(800) 74o2ase

TOLL FREE CALL: cowen l"mancial orlando Florlda
(800) 746-2936

TOLL FREE CALL : cowen financial orlando F|orida
(800) 746~2936

TOLL FREE CALL : cowen financial orlando Florida
(800) 746~2936
TOLL FREE CALL : ocwen financial orlando Florida
(800) 746~2936
TOLL FREE CALL : cowen financial orlando Florlda

 

(800) 746»2936

 

TOLL FREE CALL: cowen financial orlando nl£lorid'a 0

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 28 of 65

E><hibi‘£ 1

 

June 13111, 2012 at 9:12 am

May 24th4 2012 a19:10 am

May 23rd, 2012 at 9:11 am

May 22nd 2012 a19;14 am

May 21st 2012 al 9:54 am

May ZOlh, 2012 a12:26 Prn

May 1911’\, 2012 al 9:12 am

May 1Blh, 2012 al 9:34 am

May 1611\. 2012 319111 am

May l4lh, 2012 a19:10 am

May Sfli. 2012 a16;05 pm

May Glh. 2012 a16;51 pm

April ?.th, 2012 al 7:59 Dm

Aprl| `lSl, 2012 812:39 Pm

March ZBlh, 2012 a1 9:15 am
Marcn 26ln, 2012 al 5:28 pm
March 2510 2012 at 2:12 Pm
March 18lh. 2012 315;32 Pm
Maroh 11lh. 2012 al 7:11 .Dm
March 7lh\ 2012 at 6;01 prn
Febl'uai‘! 1111'1, 2012 2111:08 am
January 291|'». 2012 at 3103 Pm
January 28th, 2012 a13:23 Pm
JanuarY 281h, 2012 al 8:50 am
January ZBlh, 2012 812)05 Dm
January 151h` 2012 318:18 Pm
January 151n. 2012 al 6:58 Pln
January151hl2012 a13;13 Pm
..lanuarll 10lh, 2012 al 2;55 llrn
December 23rd 2011 al 7:36 pin
December 23rd 2011 at 4:36 pm
Decomber 22nd, 2011 a17:32 Prn
DeoemberZan, 2011 al 5;01 Pm
December 22nd, 2011 at 2149 Pm
December 2151. 2011 at 4;15 l>m

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EXhibit No. 2

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IN THE UNITED STAF'I"ES _DISTRICT COURT
FOR TI:‘I_`E NORTI~*IERN D'IST`RICT OF OKI..,A_HOI\/IA

I:`;i`.lbert `Kirby, Jr.. and Caleb Mcadews,
Plai.nti H"S.
Ca.se No. 14~1""\/~388»(}1§1*`*1).'[€

..\,' »

David I\/l. C)`Dens, Settie and P<)uA PC,
and chen Loan Sel'vic`lng,. LI_,Q

De'i"endants`

PLAINTIFFS’ RESPONSE T() I) EH*`EBNDANT'S S E C 0 N D SET
() F lN'I.`[€`,RR ()C}A"I`O"Rl ES
PROP()UNDED 'I.`O ]ELBERT KIRB`Y` JR

TO: Defendal'lt:
SEFH',`”K"LJ§L_§_Y;QQ
3333 lee Pa.x'kway
STE 800
l`)axllasq 'I"X 75219

Plain'tiffs, ElbertKirby, J`,r., and Caleb Meadows, pursuant to Rules 26 and 33
of the Federal Rules of Civil Procedure, hereby respond to the fellowng

interrogatories propounded to the 'Plainti'f"fs, Elbert Kirby, J 1'., and Caleb I\/leadews.

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 31 of 65

Interrogatories
Interroaato'iyl\lo. 5: With respect to the allegations in Paragraph 9 of the

Complaint that SettlePOu has "[communicat`_][ed] credit information which is false,"
state, specifically and indetail;

(A) each action which you contend SettlePou has taken as credit reporting3
including a description o'lf` the action taken and the date(s) such action was undertal<en;
and

(B) each report you contend Settlel’ou made as credit reporting including

whether such report(s) was written or oral and the date each such request was made

ANSWER No 51 On or about May 1, 2010 to approximately July ll, 2014, the defendants
chen Loan Servicing, LLC, David M. O’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Re[)orting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. Tlie Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

lnterrogatoiy` No. 6: With respect to the allegations in Paragraph 13 ot` the
Coniplaint that SettlePou "Violated the Fair Credit RepoltingAct," state specifically and

in detail:

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 32 of 65

(/-\`) each action which you contend SettlePou has taken in violation ot` the F air
Credit Reporting Act, including a description of the action taken and the
(B) each "dispute[] that the Plaintiffs made unto the det`endants" you contend
SettlePou made, including a description ot` the action taken and the date(s) such action was
undertal<en; and
(C) each action you contend SettlePou undertook that was "in had faith with
unclean hands." including a description ol;` the action taken and the date(s) such action was
undertaken
ANSWER No 6: On or about lVIay 1, 2010 to approximately July ll., 2014, the defendants
chen Loan Servicing, LLC, David M. ()’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRA.s. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

interrogatory No. 7: With respect to any damages you are seeking against
SettlePou in this action:
(/-\) state, specifically and in deta.il._ the nature of your claimed damages and the

precise amount oi" your claimed damages;

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 33 of 65

(B`) state specifically and in deta.il, the precise method(s) by which you calculated
your claimed damages;
(C) state, specifically and in detail, each i`act support or otherwise relating to
each item ot` your claimed damages; and
(D) .ldentit`y each document supporting or otherwise relating to each item ol" your
claimed damages
ANSWER No 7. See Exhibit 'l
$50,000 - FCRA - 50 counts/occurrences ~ $1,000 per Statutory damage - false report
$50,000 a FCRA ~ 50 counts/occurrences - Sl,000 per statutory damage ~ incorrect amount
$50,000 - FCRA - 50 counts/occurrences - S1,000 per statutory damage - failed to report as
dispute
3500,000 ~ FCRA - actual damages ~ approximate Worth of Plaintiffs’ property
T()TAL FCRA - $650,000
33600,000 = TCPA ~ 400 counts/occurrences - 51,500 per statutory damages
TOTAL FCRA & TC`PA - $j1,250,000

PUNlTlV`E DAl\/IAGES ~ amount to be proven by court and/or at trial

Case 4:14-cV-OO388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 34 of 65

Declaration
I, Affiant, Elbert Kirby, Jr., do declare and attest the forgoing information and answers
as stated are true and correct to the best of my knowledge in accordance with 28 USC

1746(1).

Respectt`ully Subini'tted this 22nd day o_t` l\/lay, 2015,

 

iv By'.v Elbert Kirby, Jr.

Elbert Kirby, Jr. and Caleb I\/leadows
ll25 East 8th Street

Tulsa, Oklahoma

918.906,l204

Ceititicate of Service
l certify that the above document has been sent via electronic and tist class mail, postage prepaid
and affixed thereto, unto the following defendants’ attorney ot` record on the last date stated above.

 

 

Caleb Meatiows
ll25 East Sth Street
Tulsa, Oklahoma

chen Loan Servicing, LLC 918.906.1204
3333 Lee Parl<way

Sll:` 800

Dallas, TX 752l9

odens@chcn.coin

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Exhibit No. 3

Case 4:14-cV-OO388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 36 of 65

ll\l IHE UNlTED STATES D`ISTRICT COURT
POR\ Tl~{l.E N`ORTHER.N Dl'S'l"RlCT OF OKLAHOl\/IA
l:Elbert Kirby, Jr._, and Caleb l\/leadov\/s5
Plaintii`i`s.
»..\/'_

Case No. l /l*C`V-3 8 S~GKF~PJC

David l\/l. O’Dens, Settle and Pou. PC,
and tj)cwen Loan Servi.cing. l.,l,,(_“l~

`/\./\_/W\_/Vv\/\/\../

l)etendants

PLAINTIFFS’ RESPONSE TO DEE"E§N}[)AN'l"S SE C(.`DND SET
OF lNTERROGATORIES
PROPOUNDE§) 'i`O .ii)'l..lBERT KiRBY. JR

To: Defendant:
chen Loan Ser`vicinta L`i;-C
3333 l..,»ee Parl<way
STE 800
Dallas, '"l"X 75219

Plaintit"i"s, Elbert Kirby, lr.. and Caleb `lV.l.eadows, pursuant to Rules 26 and 33
of the Federal Rules ot` Civil _'Procedure, hereby respond to the following

interrogatories propounded to the Plainti'l"'t`s., F.lhert Kirhy, .h'., and Caleb .l\/leadows.

Case 4:14-cV-OO388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 37 of 65

In'terrogatories
lnt.erroaatory No. 5: With respect to the allegations in Paragraph_ 9 of the

Complaint that chen has "[coiiiiiitinicat:l[ed] credit information which is false," state,
specifically and in detail:

(A) each action which you contend chen has taken as credit reporting
including a description of the action taken and the date(_s) such action was undertaken;
and

(_B) each report you contend chen made as credit reporting, including

whether such report(s_) was written or oral and the date each such request was made.

ANSWER 'No 5: On or about lVlay 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David M. O’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Expei'ian, Equifax,
and Transunion “Credlt Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed Status of the

alleged debt in all instances and reports.

lnterrogatoiy No. 6: With respect to the allegations in Paragraph l3 ot" the
Complaint that chen "violated the Fair Credit Reporting Act," state specifically and in

detail:

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(A) each action which you contend chen has taken in violation ot` the F air
Credit Reporting Act` including a description of the action taken and the
(B) each "dispute[] that the Plaintiffs made unto the dei`endants" you contend
chen made, including a description of the action taken and the date(s) such action was
undertal<en; and
(C) each action you contend chen undertook that was "in had faith with unclean
hands," including a description ol;` the action taken and the date(_s) such action was
undertaken
ANSWER No 6: On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David M. O’Dens and Settle`Pou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAs”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

interrogatory No. 7: With respect to the allegations in 'Paragraph l4 of the Coniplaint
that C)cwen “niade over 400 telephone calls . . . by automated telephone dialing,," state
specifically and in detail:

(/\) each call you contend chen has made and the dates and times such action was

undertaken; and

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 39 of 65

(B)the manner and method hy which you documented or otherwise maintain a
log of all such calls.
ANSWER No 7: See Exhibit l. The Plaintiffs maintain their documented records with the »
third-party service Trapcall.com. The Plaintiffs have provided the records of the calls in a log
see Exhibit 1.
interrogatory No. 81 With respect to the allegations in Paragraph iii of the
Coniplaint that chen “made over 400 telephone calls . . . by automated telephone
dialing. . . (to 918~***“**46)," state specifically and in detail:
(A) the full telephone number to which you i'efer;
(B) the owner(s) ol:`such telephone number; and
(C) whether such telephone number is a residential or cellular telephone

line.

ANSWER No 8: The defendants used their automated dialing system to dial the cellular
phone number: 918.902.3246. Which the Plaintiffs are the owners and authorized users.

lnterrogatory No. 9: With respect to any damages you are seeking against
(1)cwen in this action:

(A) state, specifically and in detail, the nature of your claimed damages and the

precise amount of your claimed damages_;

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 40 of 65

(B') state specifically and in detail, the precise method(s) by which you calculated
your claimed damages;
(C) state, specifically and in detail, each fact support or otherwise relating to
each item ot` your claimed damages; and
(D) ldenti'l"y each document supporting or otherwise relating to each item ot` your
claimed damages
ANSWER No 9. See Exhibit 1
$50,000 - FCRA - 50 counts/occurrences - $1,000 per statutory damage - false report
$50.,000 - FCRA - 50 counts/occurrences - $1,000 per statutory damage ~ incorrect amount
350,000 - FCRA w 50 counts/occurrences - S1,000 per statutory damage - failed to report as
dispute
$500,000 - FCRA»~ actual damages ~ approximate worth of Plaintiffs’ property
TOTAL FCRA - $650,000
$600,000 = TCPA - 400 counts/occurrences ~ 51,500 per statutory damages
TOTAL FCRA & TCPA - 31,250,000

`PUNITIVE DAM..AGES ~ amount to be proven by court and/or at trial

clase 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 41 of 65

Declaration
I, Affiant, Elbert Kirby, Jr., do declare and attest the forgoing information and answers
as stated are true and correct to the best of my knowledge in accordance With 28 vUSC

1746(1).

Respectfully Submitted this 22nd day of May, 2015,

 

BY,I F.ibert Kirby, »ll`»

Elbert Kirby, Jr. and Caleb l\/leadows
l125 East 8th Street

Tulsa, Oklahoma

918.906.l204

_Certiticate of Servi.ce
l certify that the above document has been sent via electronic and fist class mail, postage prepaid
and affixed thereto, unto the following defendants attorney of record on the last date stated above

 

Caleb l\/Ieadows
ll25 East 8th Street
Tulsa, Oklahoma
chen Loan Ser‘\/icing, lil.,C 918-906~]204
3333 Lee Pai‘l<way
STE 800
Dallasdl TX 75219
odens@chen.com

~6

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 42 of 65

Exhibit No. 4

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 43 of 65

ll\l Tl-lE UNITED STATES DISTRICT COURT
FO_R Tl~l`l?_‘, `N'(_)le`l~'l_l§RN DiSTRlCT` ()l" ()Kl,,iAl€iOl\/lA

iii bert l<irbyn \lr.r and Caleb l\/_ieadows,
l-‘laintit`fs.
Case No, ld~(“.‘V~$SS"GKF-PJC

m\/’..

David M. O’Dens, Settle and Pou. PC_,
and chen 'l..,oan_ Servicir'rgr l..il._)C,

~/\./\_/\/\./V\_/\/\._/`/

Defendants

PLAINTIFFS’ RESP()NSE TO DEFENDANT'S S`EC OND SET
Ol<` .lN'l"lilRR()GA'l`Ofilith
PR()POUND£EH) TO '.l§l.iB.l£RT KI'R_BY. JR lsicl

'l`o: Det`endant:
l)AVIl) l\/l`,. O’DENS
3333 Lee Parl<way
STE 800
l`)allas, TX 75219

l?laintit"l"s, Elbertl_<`lirby, .l`r., and Caleb l\/leadows, pursuant to Rules 26 and 33
of the Federal Rules of Civil Procedure, hereby respond to the following

interrogatories propounded to the Plaintil"t`s, Elbert `l(irby, .li'., and Caleb l\/leadows.

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 44 of 65

Interrogatories
`lnterroga.totyl\lo. 5: With respect to the allegations in Paragraph 9 of the

Com_plaint that O'l`.`)ens has "[coiiiintitiicat][edl credit information which is false_," state_,
specifically and in detail:

(A) each action which you contend O"Dens has taken as credit reporting5
including a description ot` the action taken and the date(s) such action was undertaken;
and

(B`) each report you contend O‘Dens made as credit reporting including

whether such report(s) was written or oral and the date each such request was made

ANSW.ER No 5: On or about May 1, 2010 to approximately July `11, 2014, the defendants
chen Loan Servicing, LLC, David M. O’Dens and SettlePou have communicated
approximately fifty (50') separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

Interrogato_iy No. 6: With respect to the allegations in Paragraph 13 of the
Complaint that O'Dens "violated the Fair Credit Reporting Act," state specifically and in

detail :

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 45 of 65

(A) each action which you contend O‘Dens has taken in violation of the Fair
Credit `Reporting Act, including a description of the action taken and the
(B) each "dispute[] that the Plaintiffs made unto the defendants" you contend
O'Dens inade, including a description of the action taken and the date(s) such action was
undei'tal<en; and
(C) each action you contend O‘Dens undertook that was "in had faith with unclean
hands," including a'description of the action taken and the date(_s) such action was
undertaken
ANSWER No 6: On or about May ]_, 2010 to approximately July 11, 2014, the defendants
Oc.Wen Loan Servicing, LLC_, David lVl. O’Dens and SettlePou have communicated
approximately fifty (50_) separate reports of false information to each Experian, Equifax,
and Transi.inion “Ci'edit Reporting Agencies (“CRAs”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

interrogatory .No. 7: With respect to any damages you are seeking against
O'Dens in this action:
(A) state., specifically and in detail, the nature of your claimed damages and the

precise amount ol" your claimed damages;

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 46 of 65

(B) state specifically and in detail, the precise method(s) by which you calculated
your claimed damages;
(C) state, specifically and in detail, each fact support or otherwise relating to
each item of your claimed damages; and
(D) identify each document supporting or otherwise relating to each item ol` your
claimed damages
ANSWER No 7. See Exliibit 1
$50,000 - FCRA ~ 50 counts/occurrences - 31,000 per statutory damage »~ false report
$50,000 - FCRA - 50 counts/occurrences - $1,000 per statutory damage ~ incorrect amount
$50.,000 - FCRA - 50 counts/occurrences - $.1,000 per statutory damage ~ failed to report as
dispute
$500,000 - FCRA ~ actual damages - approximate Worth of Plaintiffs’ property
TOTAL FCRA »~ $650,000
$600,000 = TCPA - 400 counts/occurrences - $1,500 per statutory damages
TOTAL FCRA & TCPA ~ $1,250,000

PUNITIVE `DAl\/IAG`ES ~ amount to be proven by court and/or at trial

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 47 of 65

Declaration
l, Affiant, Caleb Meadows, do declare and attest the forgoing information and answers as
stated are true and correct to the best of my knowledge in accordance With 28 USC

1746(1).

Respectt`ully Suhmitted this 22nd day of .l\/.l,ay, 2015,

.' )/- / j
,/ . /
. 0 '),

By'; Caleb l\/leadows

Elhert Kirby, Jr. and Caleb l\/leadows
1 125 East 8th Street

"l`ulsa, Oklahoma

918.906.1204

Certit`icate of Service
1 certify that the above document has been sent via electronic and tist class mail, postage prepaid
and affixed thereto, unto the following defendants attorney of record on the last date stated ahove,

 

Caleb l\/Ieadows
1125 East Sth Street
Tulsa, Oklahoma
chcn Loan Servicing, L`LC 918.906.1204
3333 Lee Parl<way
STE 800
`Dallas, TX 75219

odens@chen.com

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EXhibit No. 5

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 49 of 65

IN THE UNITED STATES DlSTRICT COURT
FOR Tt:l'l§`, NOR'l`HERN DlSTRlCT ()l" O'KL,A'HOi\/I`A

lfilbert Kirby. Jr… and Caleb l\/leadows, )
)
Plaintiffs )
)

-\/'» l Case No, l4~C‘V-388~~Cil{F~PJC
l
l,`)a\'id M\ (.`)".Dens, Settle and l’ou` PC, )
and (:)cwen l_'.,oan Ser\"icing` l..¢l..C` )
)
De't`cndants. )

PLAINTIFFS’ RESPONSE TO DEFENDAN'I"S S.EC ON`D SET

O.F vl Nr.l:` 111 RROG' A"[`OR'I 158
PROPOUNDED T() ELBERT ll(_IRB`i_/q JR lsicl
To: Defendant:
S`E"E"I`LEPOU
3333 lee Parl<way

S_T_E 800
Dallas. "l"X 752l9

Plaintiffs Elbert Kirby» `lr,, and Caleb l\/.l.eado`ws, pursuant to Rules 26 and 33
ot` the Federal Rules o.t` Civil Procedure, hereby respond to the following

interrogatories propounded to the P`lainti't`t`s, `Elbert Kirl)y, .lr., and Caleb ll\/_Ieadows.

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 50 of 65

lllterrogatories
lnterrogatory No. 51 With respect to the allegations in Paragraph 9 of the

Complaint that Settle,l)ou has "[communicat][ed] credit information which is false,"
statej specifically and in detail:

(A) each action which you contend SettlePou has taken as credit reporting
including a description of the action taken and the date(S) such action was undertaken;
and

(B)` each report you contend SettlePou made as credit reporting including

whether such report(s) was written or oral and the date each such request was made

ANSWER No 5: On or about May 1, 2010 to approximately July 11, 2014, the defendants
Ovaen Loan Servicing, LLC, David M. ()"Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAs”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports

lnterrogatoiy l\l`o. 6: With respect to the allegations in Paragraph l3 of the
Complaint that SettlePou "violated the _Fair Credit Repoiting Act," state specifically and

in detail:

l
l‘O

QaSe 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 51 of 65

(A) each action which you contend SettlePou has taken in violation o'l" the F air
Credit Reporting Act, including a description of the action taken and the
(B) each "dispute[] that the Plaintiffs made unto the defendants" you contend
SettlcPou made, including a description ot` the action taken and the date(s) such action was
undertal<cn; and
(C) each action you contend SettlePou undertook that was "in bad faith with
unclean hands," including a description of the action taken and the date(s) such action was
undertaken
ANSWER No 62 On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David M. G’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAs. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

linterrogatory~'.l\lo. '7: With respect to any damages you are seeking against
SettlePou in this action:
(`A) sta.te, specifically and in detail, the nature ot` your claimed damages and the

precise amount ofyou.r claimed damages;

Qase 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on 07/06/15 Page 52 of 65

(B) state specifically and in detail, the precise method(s) by which you calculated
your claimed damages;
(C) state, specilical ly and in dctail_, each fact support or otherwise relating to
each item oi"your claimed damages; and
(D) identify each document supporting or otherwise relating to each item ofyour
claimed damages
ANSWER No 7. See Exhibit l
$50,000 ~ FCRA ~ 50 counts/occurrences ~ $1,000 per statutory damage - false report
$50,000 ~ FCRA - 50 counts/occurrences ~ $1,000 per statutory damage - incorrect amount
350,000 - FCRA - 50 counts/occurrences - $1,000 per statutory damage ~ failed to report as
dispute
$500,000 - FCRA ~ actual damages ~ approximate Worth of vPlaintiffs’ property
T()TAL FCRA - 5650,000
$600,000 = TCPA - 400 counts/occurrences ~ $1,500 per statutory damages
T()TAL 'FCRA & TCPA ~ $1,250,000

PUNITIVE DAMAGES ~ amount to be proven by court and/or at trial

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 53 of 65

Declaration
I, Affiant, Caleb Meadows, do declare and attest the forgoing information and answers as
stated are true and correct to the best of my knowledge in accordance with 28 USC

1746(1).

Respectfully Submitted this 22nd day of l\/.[ay, 2015_,

 

1 By; Caleb l\/leadows

lilbert Kirby, Jr. and Caleb l\/leadows
ll25 East Sth Street

Tulsa, Oklahoma

9l 8.906.l204

Certiticate of Service
l certify that the above document has been sent via electronic and fist class mail, postage prepaid
and affixed thereto, unto the following defendants’ attorney ol` record on the last date stated above

 

Caleb l\/leadows
ll25 East 8th Street
Tulsa~ Oklahoma
chen Loan Servicing, LLC 918~906-1204
3333 Lee Parkway
S'l`E 800
Dallas, TX 752l 9
odens(§Qchen.com

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EXhibit No. 6

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ll\l THE UNITED STATES DlSTRl.CT COURT
FOR ’l`l~~ll:`; l_\lORTl':lERN DlST`RlCT OF OlU../Al~"lOI\/IA

l:`;ilbert .l<irby. Jr.., and Caleb l\/leadows,

l’lainti l"'l`s~

l;`>avid l\/l. (f_)°l)ens, Settle and l’otn l)C‘,

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)
\_. ) Case No. l 4-€\/~3 SS~GKF~PJC
)
l
and (_)cwen Loan Servicing` l_ll._,Ct )

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)

Defendants

PLAINTIFFS’ RESPONSE 'l` 0 lill§li`li§Nl)AN'l"S S l£ C ()N ll Slil'l`
OF ll\i"l`.ll]RROGAT()RIES
PROPOUNDED 'l`O El_,~`BERT `l(fl_lRB`l/t JR lsicl

To: Det`endant:
chen Loan Servicina. LL-C
3333 Lee Parl<wa.y
STE 800
l")a|las1 TX 752l9

i`>lain'titil"s, Elbert Kirby, lr., and Caleb l\/leadows, pursuant to Rules 26 and 33
of the Federal Rules of Civil `P_rocedure, hereby respond to the following

interrogatories propounded to the Plainti'lfs, `Elbert 'Kirby, .lr.._ and Caleb .l\/leadows.

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interrogatories
interrogatory No. 5: With respect to the allegations in Paragra_ph 9 of the

Complaint that chen has "[coniinui'iicat][ed] credit information which is t"alse," state,
specifically and in detail:

(A) each action which you contend chen has taken as credit reporting
including a description of the action taken and the date(s) such action was undertaken;
and

(B) each report you contend chen_ made as credit reporting including

whether such report(s) was written or oral and the date each such request was n‘iade.

ANSW`ER No 52 On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Serviciug, LLC, David M. O’Dens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and Transunion “Credit Reporting Agencies (“CRAS”).” Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAs the disputed status of the

alleged debt in all instances and reports.

interrogatory No. 6: With respect to the allegations in Paragraph l3 of the
Coinplaint that chen "violated the Fa.ir Credit R_epoi‘ting Act_," state specifically and iii

detail 1

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(_A) each action which you contend chen has taken in violation o't` the Fair
Credit Reporting Act, including a description of the action taken and the
(B:) each "dispute[] that the Plaintiffs made unto the det`endants" you contend
()cwen made_. including a description ol" the action taken and the date(s) such action was
undertaken; and
(C) each action you contend chen undertook that Was "in had faith with unclean
hands," including a description of the a.ction`tal<en and the date(s) such action was
undertaken
ANSWE.R No 6: On or about May 1, 2010 to approximately July 11, 2014, the defendants
chen Loan Servicing, LLC, David l\/I. O’I)ens and SettlePou have communicated
approximately fifty (50) separate reports of false information to each Experian, Equifax,
and "i`ransunion “Credit Reporting Agencies (“CRAS”)."’ Representing false amount to the
respective CRAS. The Defendants failed to report to the CRAS the disputed status of the

alleged debt in all instances and reports.

lnterrogatory No. 71 With respect to the allegations in .Paragraph 14 of the Complaint
that chen "made over 400 telephone calls . . . hy automated telephone dialing§" state
specifically and indetail:

(A) each call you contend chen has made and the dates and times such action was

undertaken; and

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(B) the manner and method by which you documented or otherwise maintain a
log ofall such calls.

ANSWER No 7: See Exhibit l, The Plaintiffs maintain their documented records With the

third-party service Trapcall.com. The Plaintiffs have pi'ovided'the records of the calls in a log

see Exhibit l..

interrogatory No. 81 With respect to the allegations in Paragraph 14 of the
Complaint that chen "inade over 400 telephone calls l . . by automated telephone
dialing . . . (to 9l 8'***~**46)," state specifically and in detail:

(A) the full telephone number to which you i‘et`er;

(B) the owner(s) ot`such telephone nuinbei‘_; and

(C) whether such telephone number is aresidential or cellular telephone

line.

ANSWER No 8: The defendants used their automated dialing System to dial the cellular

phone number: 918.902.3246. Which the Plaintiffs are the owners and authorized users.

lnterrogatory No. 9: With respect to any damages you are seeking against
chen in this action1

(A) state, specifically and in detail, the nature oi" your claimed damages and the

precise amount oi"your claimed damages;

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(_B_‘) state specifically and in detail, the precise method(s) by which you calculated
your claimed damages;
(C) state, specifically and in detail, each fact support or otherwise relating to
each item of your claimed damages; and
(D') ldentit`y each document supporting or otherwise relating to each item o'l"'your
claimed damages
ANswER No 9. see inhibit 1
$50,000 ~ FCRA - 50 counts/occurrences »~ $1,000 per statutory damage _ false report
$50,000 ~ FCRA- 50 counts/occurrences - S].,000 per statutory damage - incorrect amount
$50,000 - FCRA ~ 50 counts/occurrences ~ $l,000 per statutory damage ~ failed to report as
dispute
$500,000 - FCRA - actual damages ~ approximate Worth of Plaintiffs’ property
TOTAL FC'RA - $650,000
$600,000 = TCPA ~ 400 counts/occurrences " Sl,500 per statutory damages
TOTAL FCRA & TCPA - $1,250,000

PUNITIVE DAMAGES w amount to be proven by court and/or at trial

Case 4:14-cV-00388-GKF-P.]C Document 157 Filed in USDC ND/OK on O7/O6/15 Page 60 of 65

Declaration

 

I, Aftiant, Caleb Meadows do declare and attest the forgoing information and answers as
stated are true and correct to the best of my knowledge in accordance with 28 USC

'i 746(1).

Respectt`ully Subniitted this 22nd day ofl\/lay, 2015.

 

By; Caleb l\/leadows

Elbert Kirby, .lr. and Caleb l\/leadows
1125 East Sth Street

'l`ulsa, Oklahoma
918.906.1204

Certit`icate of Service
l certify that the above document has been sent via electronic and fist class mail, postage prepaid
and affixed thei‘eto, unto the following defendants’ attorney of record on the last date stated above.

 

Caleb l\/leadows
ll25 East 8th Street
Tulsa, Oklahoma
chen Loan Servicing, lale 918'906-1204
3333 Lee Par.l<way
STE 800
Dallas, TX 75219
odens@chen.com

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EXhibit No. 7

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EXhibit No. 8

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David O'Dens

From: Arnero pean <followtheru|es@ic|oud.com>
Sent: Wednesday, June 17, 2015 9:04 /-\l\/|

To: David O'Dens

Subject: Re: Kirby v. O'Dens; Our File No. 14-0453
David,

First, We have noticed the court With our objection and appeal to the order Which you reference

ln good faith to find a resolve, Without Waiving any of our objections and rights to appea|, can you be more specific With
your request and exactly What you are requesting?

~k>'¢*k>'vd¢dedr9¢9¢$¢*9€1¢**9¢*9¢9€9€9¢1'¢9€*9¢***'k*i€i¢*i¢9¢*9¢9¢1'¢9¢9¢~}¢'}¢*7\‘9¢9¢9¢d¢*‘kink9¢7'¢*9¢1'¢7'€9¢**9¢1'¢9¢9¢9¢9¢$¢‘}¢9¢9¢9¢*9¢9¢9:9¢

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information that is privileged, confidential or otherwise protected from disclosure under applicable law. lf the receiver of
this information is not the intended recipient, or the employee, or agent responsible for delivering the information to the
intended recipient, you are hereby notified that any use, reading dissemination, distribution, copying or storage of this
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and/or Conf`idential lnformation. Any and All Political, Private or Public Entities, Federal, State, or Local Corporate
Government(s), Municipality(ies), lnternational Organizations, Corporation(s), agent(s), investigator(s), or informant(s),
et. al., and/or Third Party(ies), and notwithstanding Any and All party(ies), working in collusion by collecting

and/or monitoring email(s),and any other means of spying and collecting these or any of communications in general,
Without THE SENDER'S Exclusive Permission are Barred from Any and All Unauthorized Review, Use, Disclosure or
Distribution.

On Jun 16, 2015, at 12:25 P|\/|, David O'Dens <dodens@sett|epou.com> Wrote:

Gent|emen:

By the Court's order dated |\/|ay 29, 2105, ”[w]ith respect to the interrogatories and requests
for production, by June 7, 2015, Plaintiffs shall fully comply with th[e] Court's orders and the Rules of

1

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Civil Procedure by providing proper, verified answers to interrogatories and full responses to the
Requests for Production.” Opinion and Order at pg. 9-10 [Docl<et No. 130] (bold in original). Please be
advised that as of this date, neither our Firrn, nor either of local counsel's Firms, have received your
discovery responses as ordered. ln the event the answers were served Bu June 7th, please provide us
with the method or service (and if the same is traceable) so that we may determine why we have not
yet received your discovery responses. |n the event we fail to hear from you by the close of business
today, we will have no alternative but to inform the Court of you failure to comply with the order and
seek appropriate relief in this matter. Should you have any questions regarding this matter, please do
not hesitate to contact me.

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